                         UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF NORTH CAROLINA
                               SOUTHERN DIVISION
                             Criminal No. 7:17-CR-51-1H
                               Civil No. 7:20-CV-80-H

KEYWONOUS MARQUIS ROGERS,                   )
                                            )
                     Petitioner,            )
                                            )
      v.                                    )                   ORDER
                                            )
UNITED STATES OF AMERICA,                   )
                                            )
                     Respondent.            )




       Having examined petitioner's motion pursuant to Rule 4(b) of the Rules Governing

§ 2255 Proceedings, the United States Attorney is DIRECTED to file an Answer pursuant

to Rule 5, Rules Governing § 2255 Proceedings, or to make such other response as

appropriate to the above-captioned § 2255 Motion to Vacate, Set Aside or Correct

Sentence, within forty (40) days of the filing of this order.



       SO ORDERED. This 3rd day of August 2020.




                                        MALCOLM J. HOWARD
                                        SENIOR UNITED STATES DISTRICT JUDGE




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